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                        UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION
__________________________________________
                                           )
ALTMAHA RIVERKEEPER; ONE HUNDRED )
MILES; SURFRIDER FOUNDATION; and           )
CENTER FOR A SUSTAINABLE COAST,            )
                                           )
            Plaintiffs,                    )
                                           )
      v.                                   )    Case No. 4:18-cv-00251-JRH-CLR
                                           )
UNITED STATES ARMY CORPS OF                )
ENGINEERS, et al.,                         )
                                           )
            Federal Defendants,            )
                                           )
            AND                            )
                                           )
SEA ISLAND ACQUISITION, LLC,               )
__________________________________________)

    FEDERAL DEFENDANTS’ NOTICE OF FILING ADMINISTRATIVE RECORD

       Federal Defendants, the United States Army Corps of Engineers (“Corps”), an agency of

the United States of America, Lieutenant General Todd T. Semonite, in his official capacity as

Commanding General of the U.S. Army Corps of Engineers, and Colonel Daniel Hibner, in his

official capacity as District Commander of the Savannah District (collectively, “Federal

Defendants”), respectfully notify the Court that the Federal Defendants’ administrative record for

agency action challenged in the above-captioned matter will be filed in physical form with the

Clerk’s Office for the Southern District of Georgia. The administrative records include

materials compiled by the Corps concerning the Corps’ issuance of Army Permit Number SAS-

2015-00742 to Sea Island Acquisition, LLC, and is contained on a DVD. A declaration

certifying the record is also contained on the DVD. Copies of the administrative will be

provided separately via overnight delivery to Plaintiffs’ and Intervenors’ counsel.
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Respectfully submitted February 28, 2019   JEAN E. WILLIAMS
by                                         Deputy Assistant Attorney General

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